           List of Numbered November 2018 Lethal Injection
                            Complaint Attachments


Attachment
No.

1:      Electrocution Procedures 3/13/17

2:      Chancery Court Declaratory Judgment Order 11/22/10

3:      Lethal Injection Protocol 1/8/18

4:      Lethal Injection Protocol 7/5/18

5:      Dr. Sasich Declaration

6:      Chancery Court Order Applying Tenn Civ. P. Rule 15.02 Dated 07/19/18

7:      Chancery Court Order Dismissing Suit 07/26/18

8:      Dr. Evans Testimony

9:      Email from Drug Supplier

10:     Irick Execution Timeline

11:     News Articles

12:     Dr. Lubarsky Affidavit

13:     Dr. Lubarsky Testimony

14:     Dr. Edgar Testimony

15:     Military Executions/Procedures

16:     Deborah Denno Article

17:     Exhibit of Texas Executions




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18:     2018 Executions from Death Penalty Information Center

19:     Documents from the Drug Procurer

20:     Handwritten Notes of the Drug Procurer

21:     Parker Testimony (excerpt)

22:     Parker Deposition (excerpt)

23:     Inglis Testimony (excerpt)

24:     Invoices for Lethal Injection Drugs

25:     Emails from the Drug Procurer

26:     Inglis Deposition (excerpt)

27:     Contracts with Compounding Pharmacies

28:     (Omitted)

29:     Redacted Pharmacy Website Information

30:     Redacted Pharmacist and Pharmacy Discipline Records

31:     AP Article re: TN Electric Chair

32:     Allen Lee Davis Execution Photos

33:     Electric Chair Modifications Letters

34:     Dr. Wikswo Reports

35:     Daryl Holton Photos

36:     Daryl Holton Autopsy

37:     News Articles

38:     Ricky Gray Autopsy



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39:     William Morva Autopsy

40:     Mays Deposition (excerpt)

41:     Mays Testimony (excerpt)

42:     Sutherland Representation re: Two-Drug Alternative




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